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AO 106 (Rev 04110) Apphcat1on for a Search Warrant



                                     UNITED STA TES DISTRICT COL'RT
                                                                   for the
                                                   Eastern District of Pennsylvania

               In the Matter of the Search of                         )
         (Briefly describe the property to be searched                )
          or tdentify the person by name and address)                 )
   INFORMATION ASSOCIATED WITH CERTAIN                                )
  TELEPHONE NUMBERS. THAT IS STORED AT A                              )
       PREMISES CONTROLLED BY AT&T                                    )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its locatton)

 AT&T. 11760 US Highway One, North Palm Beach, Florida
located in the            Southern               District of              Florida             , there is now concealed (identify the
person or describe the property to be seized):

 SEE ATTACHMENTS A and B

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~ evidence of a crime;
                 :::J contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 n   a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
               Code Section                                                     Offense Description

        18 USC.§ 2113(a)                         bank robbery

         The application is based on these facts:
        SEE ATTACHED AFFIDAVIT

          ~ Continued on the attached sheet.
          [1    Delayed notice of    ... _days (give exact ending date if more than 30 days:                          . ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                             "1Ma.,,,,----
                                                                                             Apphcant ·s signature

                                                                                      Matthew Yaeger, Specia! ~ge"!_~BI
                                                                                             Printed name and tttle

Sworn to before me and signed in my presence.


Date:    _ij_!l/ /Jo A --
City and state: !:~1ladelph1a, PA
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTER:r--; DISTRICT OF PENNSYLVANIA

 I~ THE MATTER OF THE SEARCH OF
 P,\;FORMATION AS SOCIATED WITH THE
 CELLULAR TELEPHO:'JES ASSIGNED     Magistrate No._
 CALL NUMBERS 570-650-4894 AND 570-
 862-1364, THAT IS STORED AT        :Filed Under Seal
 PREMISES CONTROLLED BY AT&T



                              AFFIDAVIT IN SL'PPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

        I, Matthew Yaeger, being duly sworn under oath and deposed, state the following:

                        INTRODUCTION AND AGENT BACKGROUND

        1.       I am a Special Agent with the Federal Bureau of Investigation ("FBI") assigned to

the Philadelphia, Pennsylvania Division. I have been a Special Agent of the FBI for more.than

12 years. I am currently assigned to the Philadelphia Violent Crime squad and have been for

approximately the past 4.5 years. For the prior 5 years, I was assigned to the Organized Crime

squad. For approximately 3.5 years prior to that, I was assigned to the Violent Crimes/Major

Offenders squad in the FBI's Milwaukee, Wisconsin Division. In the course of my work, J have

investigated violations of federal law being committed by violent offenders and criminal :

organizations, including murders, robberies, drug offenses, racketeering, gambling offenses,

firearms offenses, and money laundering offenses. I have received training in the analysis of cell

site location information, and I have participated in numerous investigations that have invplved

such analysis.

       2.        I make this affidavit in support of an application for a search warrant for

information associated with certain cellular telephones assigned call numbers 570-650-4894
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("SUBJECT PHONE 1") and 570-862-1364 ("SUBJECT PHONE 2"), collectively referred to
                                                                                               I
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herein as "the SUBJECT PHONES", used by WILLIAM FISCHER, that is stored at premises

controlled by AT&T, a wireless telephone service provider headquartered at 11760 US l lighway

One, North Palm Beach, Florida. The information to be searched is described in the following

paragraphs and in Attachment A. The information sought is cell site location information. This

affidavit is made in support of an application for a search warrant under 18 U .S.C.

§ 2703(c)(l )(A) to require AT&T to disclose to the government copies of the information further

described in Section I of Attachment B. Upon receipt of the information described in Section I

of Attachment B, government-authorized persons will review the information to locate items

described in Section II of Attachment B.

        3.     This affidavit is based upon my personal knowledge, experience and

investigation, as well as information related to me directly or through reports of other FBI agents

and task force officers, and other law enforcement officers in the course of their official duties.

Throughout this affidavit, reference will be made to "agents," referring to those federal, state and

local law enforcement officers who have directly participated in the investigation, and with

whom I have had regular contact.

       4.      Because this affidavit is submitted for the limited purpose of obtaining a search

warrant, I have not included all information known by me or other agents concerning this

investigation. I have set forth only those facts I believe are essential to establish the necessary

foundation for the search warrant. This affidavit does not exhaust my knowledge or that of other

agents of the facts and circumstances surrounding this investigation.

       5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

RICHARD BOYLE has committed violations of 18 U.S.C. §§ 2113(a) (bank robbery) and



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 924(c). There is also probable cause to search the information described in Attachment A for

 evidence of these crimes as further described in Attachment B.

         6.     The government seeks to obtain and search cell site location information for the

 SUBJECT PHONES that were utilized by WILLIAM FISCHER. FISCHER pleaded guilty to

 committing a series of bank robberies in the Scranton, Pennsylvania area between December

 2015 and September 2017. RICHARD BOYLE has been charged with committing a separate

 series of bank robberies in the suburban Philadelphia area between June 2012 and July 2016.

 The government does not believe that FISCHER was involved in the robberies with which

 BOYLE has been charged. However, BOYLE has indicated that he intends to proceed to trial

 and, in his defense, claim that FISCHER committed the robberies for which BOYLE stands trial.

        7.      Agents believe that FISCI IER' s call detail information will assist them in

. determining if BOYLE's assertion has any merit. For example, ifFISCHER's cell phone

 utilized cell towers in the areas of the victim banks during the times of the robberies, it may tend

 to corroborate BOYLE's information. Conversely, if FISCHER's cell phone utilized cell lowers
                                                                                                   I
                                                                                                   I
 in areas away from the victim banks during the times of the robberies, it may tend to disprpve

 BOYLE's assertion. In either case, the data will likely be relevant and material to testimony that

 would be presented if BOYLE proceeds to trial.

                      RICHARD BOYLE, a.k.a. "The Straw Hat Bandit"

        8.      From 2012 to 2016, the FBI and various local law enforcement agencies

 investigated a string of armed bank robberies in Bucks County and Montgomery County,          I
                                                                                               I
 Pennsylvania. In each robbery, the offender was approximately 6 feet tall and stocky, wearing a
                                                                                               I
 facial covering and gloves. The offender often wore business clothing, such as a suit and lie, and
                                                                                               I

 sometimes wore a hat. Agents dubbed the offender the "Straw Hat Bandit," based on a hat worn

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in one of the early robberies. BOYLE has been charged with committing the following

robberies:

               a.     June 8, 2012 - Colonial American Bank, 300 Welsh Road, Horsham, PA

               b.     September 28, 2012 - First Federal Bank, 803 Park Avenue, Wrightstown,

                      PA

               c.     January 18, 2013 -- Wells Fargo Bank, 706 Stony Hill Road, Yardley, PA

               d.     March 30, 2013 -- PNC Bank, 1015 Bethlehem Pike, Ambler, PA

               e.     May 24, 2013 - l larleysville Savings Bank, 1889 East Ridge Pike,

                      Royersford, PA

               f.     May 24, 2013 -- Univest Bank, 4285 Township Line Road, Schwenksville,



               g.     August 30, 2013 - Wells Fargo Bank, 25 West Skippack Pike, Ambler,

                      PA

               h.     January 2, 2014- First Priority Bank, 10 Sentry Parkway, Blue Bell, PA
                                                                                          I

              1.     January 6, 2015 - Wells Fargo Bank, 481 West Germantown Pike, :

                     Plymouth Meeting, PA

              J.     July 3, 2015 - Wells Fargo Bank, 1675 Limekiln Pike, Dresher, PA

              k.     July 2, 2016 - P:\C Bank, 1216 Welsh Road, North Wales, PA




       On May 24, 2013, as the offender fled the Harleysville Savings Bank robbery, a dye pack
exploded, which likely ruined the proceeds of the robbery. The same offender committed!the
Univest Bank robbery approximately 30 minutes later.

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        9.      Agents developed substantial evidence that RICHARD BOYLE was the "Straw

Hat Bandit." On April 12, 2017, a federal grand jury in the Eastern District of Pennsylvania

returned an indictment charging BOYLE with 11 counts of bank robbery (for each of the above

robberies), 10 counts of using a firearm during the commission of a violent crime, and 10 counts

of money laundering.

                                     WILLIAM FISCHER

        10.     From December 2015 through September 2017, a separate string of armed bank

robberies occurred in ;\Jortheast Pennsylvania, approximately 100 miles from the Straw llat

Bandit robbery locations. The offender in the Northeast Pennsylvania robberies was a white

male, approximately 6'0" tall, who wore a facial covering and gloves. The offender would al~o

display a handgun. Investigators in Northeast Pennsylvania ultimately identified 14 robberies as

part of this spree, committed between December 1, 2015 and September 13, 2017. The banks

were located in the following cities in Northeast Pennsylvania: Archbald, Elmhurst, Gouldsboro,

Newfoundland, Scranton, Stroudsburg, Tannersville and West Pittston (located in Lackawanna,

Wayne, Monroe and Luzerne Counties).

       11.     On September 13, 2017, shortly after a bank robbery
                                                             •
                                                                   in Gouldsboro, PA, law
                                                                                        I



enforcement officers conducted a traffic stop of a vehicle involved in the robbery and arrested

WILLIAM FISCHER. FISCHER ultimately admitted that he committed all 14 robberies ~nd

pied guilty to an Information in federal court in the Middle District of Pennsylvania. In

September 2018, FISCHER was sentenced to 235 months in prison.

       12.     In October 2018, RICHARD BOYLE, through his counsel, filed a Motion in

Limine, requesting permission for BOYLE to question law enforcement witnesses at his trial
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regarding FISCHER's bank robberies. As stated in BOYLE's motion, "Richard [BOYL9)

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asserts that the jury should know about this other set of robberies due to the similarities of the

cases, including the manner in which the banks were robbed as well as the physical

characteristics of the robber." The Court subsequently granted BOYLE's motion. BOYLE is

scheduled to begin trial on March 4, 2019.

        13.     Agents believe there is proof beyond a reasonable doubt that BOYLE is the Straw

Hat Bandit, and do not believe that FISCHER had any involvement in BOYLE's robberies.

Despite the fact that BOYLE and FISCHER are both approximately 6 feet tall and both series of

robberies involved offenders who carried a gun and wore facial coverings, there are numerous

factors that distinguish the two separate robbery sprees.

        14.     Agents believe that historical cell tower data for FISCHER will further assist

them in determining ifBOYLE's assertion has any merit. For example, if FISCHER's cell

phone utilized cell towers in the areas of the victim banks during the times of the robberie~, it

may tend to corroborate BOYLE's information. Conversely, if FISCHER's cell phone utilized

cell towers in areas away from the victim banks during the times of the robberies, it may tend to

disprove BOYLE's assertion. In either case, BOYLE has indicated that he plans to present

evidence of FISCI IER' s robberies at trial, so the data will likely be relevant and material to

testimony regarding those robberies.

        15.    Following FISCHER 's arrest, investigators in Northeast Pennsylvania determined

that FISCHER's cell phone number was 570-650-4894 (SUBJECT PHONE I, serviced by

AT&T). Records obtained from AT&T at that time indicated that FISCI IER activated

SUBJECT PHONE 1 on November 3, 2013. Four of the Straw Hat Bandit bank robberies

occurred after November 3, 2013: on January 2, 2014; January 6, 2015; July 3, 2015; and July 2,

2016. On January 14, 2019, the government obtained a federal search warrant requesting

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historical cell site information for SUBJECT PHO;\TE 1 for those four dates. On January 17,

2019, AT&T provided records responsive to the search warrant. I have reviewed those records

and determined that, on the dates and times of those four Straw Hat Bandit robberies, SUBJECT

PHONE 1 was not using cell towers in the areas of the victim banks.

        16.     AT&T, in response to subpoenas, has provided the government additional records

indicating that FISCHER was actually the subscriber of SUBJECT PHONE 1 prior to November

2013 - the records show that FISCHER was the subscriber between at least March 22, 2011 and

December 3, 2017. 2 That time period encompasses the dates of the remaining Straw Hat Bandit

robberies that were not included in the previous search warrant related to SGBJECT PHONE 1.

The AT&T records also reveal that FISCI IER was the subscriber of a second AT&T phone line

(570-862-1364, SUBJECT PHONE 2) between March 22, 2011 and January 10, 2016. That time

period encompasses all of the Straw Hat Bandit robberies, with the exception of the July 2\ 2016

robbery. Based on my training and experience, I am aware that individuals often utilize multiple

cellular telephone numbers during the same time period. Sometimes the use of multiple phones

is for legitimate purposes; other times, criminals may use one phone as a "clean" phone for legal

activities, and another phone as a "dirty" phone for illegal activities.

        17.    Therefore, the government is seeking a search warrant for data regarding th~

SUBJECT PHONES for the following dates:




2 FISCHER was assigned one AT&T account number from March 22, 2011 through t',;ovember
3, 2013, and a different AT&T account number from November 3, 2013 through December 3,
2017. The records provided by,AT&T following FISCHER's arrest only related to the later
account number, which is why it initially appeared that FISCHER began using SUBJECT :
PHONE 1 in November 2013.

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                    a. For SCBJECT PHONE 1 (570-650-4894): June 8, 2012; September 28,

                        2012; January 18, 2013; :March 30, 2013; May 24, 2013; and August 30,

                        2013. These are the dates when Straw Hat Bandit robberies occurred that

                        were not covered by the previous search warrant.

                    b. For SUBJECT PHONE 2 (570-862-1364): June 8, 2012; September 28,

                        2012; January 18, 2013; March 30, 2013; May 24, 2013; and August 30,

                        2013; January 2, 2014; January 6, 2015; and July 3, 2015. These are the

                        dates when Straw Hat Bandit robberies occurred during the time when

                        FISCHER was the subscriber of SUBJECT PHONE 2.

                                                AT&T

        18.     In my training and experience, I have learned that AT&T is a company that
                                                                                                   I

provides cellular telephone access to the general public. I also know that providers of cellular
                                                                                                   I


telephone service have technical capabilities that allow them to collect and generate infontiation
                                                                                                   I
about the locations of the cellular telephones to which they provide service, including cell-site
                                                                                                   I

data, also known as "tower/face information" or "cell tower/sector records." Cell-site data :

identifies the "cell towers" (i.e., antenna towers covering specific geographic areas) that reyeived

.a radio signal from the cellular telephone and, in some cases, the "sector" (i.e., faces of the

towers) to which the telephone connected. These towers are often a half-mile or more apart, even

in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to

a wireless device does not necessarily serve every call made to or from that device. Accordingly,

cell-site data provides ail approximate location of the cellular telephone but is typically less

precise than other types oflocation information, such as E-911 Phase II data or Global

Positioning Device ("GPS") data.

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        19.     Based on my training and experience, I know that AT&T can collect cell-site data

about the SUBJECT PHONES. I also know that wireless providers such as AT&T typically

collect and retain cell-site data pertaining to cellular phones to which they provide service in

their normal course of business in order to use this information for various business-related

purposes.

        20.     Based on my training and experience, I know that wireless providers such as

AT&T typically collect and retain information about their subscribers in their normal course of

business. This information can include basic personal information about the subscriber, such as

name and address, and the method(s) of payment (such as credit card account number) provided

by the subscriber to pay for wireless telephone service. I also know that wireless providers such

as AT&T typically collect and retain information about their subscribers' use of the wirel~ss

service, such as records about calls or other communications sent or received by a particular

phone and other transactional records, in their normal course of business. In my training and

experience, this information may constitute evidence of the crimes under investigation because

the information can be used to identify the SUBJECT PHONES' user or users and may assist in

the identification of co-conspirators and/or victims.

                                AUTHORIZATION REQUEST

       21.      Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       22.      I further request that the Court direct AT&T to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or
                                                                                             I

control. Because the warrant will be served on AT&T, who will then compile the requested



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records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.

       23.     Under 18 U.S.C. §§ 2703(b)(l)(A) and 2703(c)(3), the government does not have

to notify the subscriber when it obtains a search warrant.

       24.     This Court has jurisdiction to issue the proposed search warrant because it is "a
                                                                                             I



court of competent jurisdiction," as defined in 18 U.S.C. § 2711. See 18 U.S.C. § 2703(a).

Specifically, the Court is a "district court of the United States (including any magistrate judge)

that has jurisdiction over the offense being investigated." See 18 U.S.C. § 2711(3)(A)(i).

                                                     Respectfully submitted,




                                                     Matthew Yaeger
                                                     Special Agent
                                                     Federal Bureau oflnvestigation




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                                 [€x~:c-r                  art   1]                                                    f
          I, Willlam Flsche , was the user of telephone number-5 570-650J4894 and 570-862-1364 between
          approXim.itliil ly 2 11 and 2016. I understand that Richard Boyle has accus~d roe of committing certain
          bank robberies i the E()stcrn District of Pennsylvania for which Boyle is ch;:nged. Iassert that I did not
          commit those b nl< robberies. Ifurther understand that the Federal Bureau of Investigation (FBI} would
          like to acqu!re h' torlcal cell site information for my phones in order to corrobor.ite my assertion. I
          consent to the F I obtaining historical cell slta information for my phones because I would like to clear
          my name fron1 t e accusation that Icommitted these bank robberies. I have been advi5ed of my right to
          refuse consentt Igive this permission voluntarify, ,ind I :iuthorize the FBI to take any evidence from the
          phone records t, at the'y dettirmine may be related to their Investigation.




                                                   WIiiiam Fischer




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